Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 1 of 8 PageID: 1077



 LYDECKER DIAZ
 Robert J. Pariser, Esq. – 030112001
 Joseph Ross, Esq. – 090042014
 One Evertrust Plaza, Suite 701
 Jersey City, NJ 07302
 Telephone: (201) 676-7692
 Facsimile: (201) 676-7693
 rjp@lydeckerdiaz.com
 jr@lydeckerdiaz.com
 Attorneys for Third-Party Defendants
 Northeast Brokerage Inc. and Michael
 Costello

                                                 UNITED STATES DISTRICT COURT
  SYMETRA LIFE INSURANCE COMPANY,                DISTRICT OF NEW JERSEY

                                 Plaintiff,      CIVIL ACTION NO.: 18-CV-12350 (MAS)
                                                 (ZNQ)
  v.
                                                 ANSWER, AFFIRMATIVE DEFENSES
  JJK 2016 INSURANCE TRUST, MICHAEL              AND CROSS-CLAIMS TO THIRD-
  LERNER, AS TRUSTEE OF THE JJK 2016             PARTY COMPLAINT OF JJK 2016
  INSURANCE TRUST, JOHN KELLY AND                INSURANCE TRUST AND MICHAEL
  PATRIOT BENEFIT SOLUTIONS                      LERNER, AS TRUSTEE OF THE JJK
  INSURANCE AGENCY,                              2016 INSURANCE TRUST

                               Defendants.


  JOHN KELLY AND PATRIOT BENEFIT
  SOLUTIONS INSURANCE AGENCY,

                       Third-Party Plaintiffs,

  v.

  NORTHEAST BROKERAGE INC. AND
  MICHAEL COSTELLO

                    Third-Party Defendants.


  JJK 2016 INSURANCE TRUST AND
  MICHAEL LENRER, AS TRUSTEE OF
  THE JJK 2016 INSURANCE TRUST,

                       Third-Party Plaintiffs,




                                        Page 1 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 2 of 8 PageID: 1078



  v.

  NORTHEAST BROKERAGE INC. AND
  MICHAEL COSTELLO

                       Third-Party Defendants.


          Defendants Northeast Brokerage Inc. (“NBI”) and Michael Costello (“Costello”,

 collectively “NBI Defendants”), for their Answer and Affirmative Defenses against Third-

 Party Plaintiff JJK 2016 Insurance Trust, and Michael Lerner, as Trustee of the JJK 2016

 Insurance Trust, state as follows:

                                        THE PARTIES

       1. Admitted.

       2. Admitted.

       3. Admitted.

       4. Admitted.

       5. Admitted.

       6. Admitted.

                                JURISDICTION AND VENUE


       7. Admitted.

       8. Admitted.

       9. Denied to the extent that “the events or omissions giving rise to the claim”

          are allegations only, and Third-Party Plaintiff must prove them. Admitted in

          all other respects.




                                          Page 2 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 3 of 8 PageID: 1079



                                     CLAIM FOR RELIEF


    10. Admitted to the extent that the NBI Defendants assisted in procuring the

       policies. Denied to the extent that “communicated with the Trust’s

       representatives with respect to same” fails to specify with which agents the

       Third-Party Plaintiffs allege the NBI Defendants communicated.

    11. The allegation in paragraph 11 of the Third-Party Complaint is a conclusion

       of law to which no response is required. To the extent a response is deemed

       required, the NBI Defendants deny the allegation and leave the Third-Party

       Plaintiffs to their proofs.

    12. The allegation in paragraph 12 of the Third-Party Complaint is a conclusion

       of law to which no response is required. To the extent a response is deemed

       required, the NBI Defendants deny the allegation and leave the Third-Party

       Plaintiffs to their proofs.

    13. Admitted.

    14. The allegation in paragraph 14 of the Third-Party Complaint rquires no

       response because it refers to a document which speaks for itself. If said

       allegation is deemed to require a response, it is admitted to the extent that

       Symetra waived the requirement of a Supplemental Health Statement on or

       about August 9, 2016 and that waiver stated no conditions whatsoever. With

       regard to the remainder of the allegation, the NBI Defendants lack

       knowledge and information sufficient to form a belief as to the truth of the

       matter asserted, and leave the Third-Party Plaintiffs to their proofs.



                                         Page 3 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 4 of 8 PageID: 1080



    15. The allegations in paragraph 15 of the Third-Party Complaint are

        conclusions of law to which no response is required. To the extent a response

        is deemed required, the allegations in paragraph 15 of the Third-Party

        Complaint is denied and Third-Party Plaintiffs are left to their proofs.

    16. The allegations in paragraph 16 of the Third-Party Complaint are

        conclusions of law to which no response is required. To the extent a response

        is deemed required, the allegations in paragraph 16 of the Third-Party

        Complaint is denied and Third-Party Plaintiffs are left to their proofs.

 WHEREFORE, the NBI Defendants request the entry of judgment in their favor on this

 count as follows:


    A. Dismissing the Third-Party Complaint as to NBI and Costello, with

        prejudice.

    B. Interest and costs of suit.

    C. Such other relief as the Court may deem just and proper.

                                AFFIRMATIVE DEFENSES


    1. The Third-Party Complaint fails to state a claim for which relief may be

        granted.

    2. The Third-Party Complaint is conditional on a finding which has not yet been

        made regarding the waiver of the Supplemental Health State and further

        medical underwriting by Symetra, making the allegations mere hypotheticals

        and therefore unripe.




                                       Page 4 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 5 of 8 PageID: 1081



    3. The Third-Party Complaint is barred by the doctrines of waiver, estoppel,

       and equitable estoppel.

    4. Third-Party Plaintiffs are not entitled to attorneys’ fees because no applicable

       law allows such an award.

    5. Third-Party Plaintiffs’ alleged damages are the result of acts or omissions

       committed by Third-Party Plaintiffs themselves.

    6. Third-Party Plaintiffs’ alleged damages are the result of acts or omissions

       committed by third parties over whom NBI Defendants have no control,

       including but not limited to the other parties to this matter.

    7. Third-Party Plaintiff Michael Lerner fails to state a claim on which relief

       may be granted to the extent that there is no privity between Mr. Lerner and

       NBI Defendants.

    8. NBI Defendants are entitled to and hereby demand an Affidavit of Merit

       pursuant to N.J.S.A. 2A:53A-27, et seq.

    9. Third-Party Plaintiffs’ damages, if any, derive from Plaintiff Symetra’s

       alleged damages, which resulted solely from Symetra’s own conduct,

       including but not limited to Symetra’s decision to affirmatively waive in

       writing the requirement for a supplemental health statement.

    10. Third-Party Complaint is barred as being well beyond the last date on which

       the Court indicated it would accept the addition further parties, given that

       NBI Defendants were known to Third-Party Plaintiffs well before that

       deadline.




                                      Page 5 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 6 of 8 PageID: 1082



    11. NBI Defendants reserve the right to amend and/or add additional Answers,

        Defenses, Cross-Claims and/or Counterclaims at a later date.

                              CROSS-CLAIM FOR CONTRIBUTION


        NBI Defendants allege that in the event of a judgment against it and in favor of the

 Third-Party Plaintiffs, it will be entitled to judgement in its favor and against Co-

 Defendants, Cop-Third-Party Defendants, and any co-defendants hereafter to be named, for

 their pro-rata contribution pursuant to the provisions of Joint Tortfeasors Contribution Act

 and the New Jersey Comparative Negligence Act

                                 CROSS-CLAIM FOR INDEMNITY

        NBI Defendants hereby demand judgment against Third-Party Plaintiffs currently

 named and hereinafter named for common law indemnification for any sum which NBI

 Defendants become liable pursuant to the laws of New Jersey, since such liability can only

 be premised upon a finding of vicarious or passive negligence or on the status of NBI

 Defendants.

                                DENIAL OF CROSS-CLAIMS

        Defendant specifically denies any cross-claims that have been or might be advanced

 against it and leaves the proponents of said claims to their proofs.


                                        Jury Demand


        NBI Defendants demand a trial by jury on all issues in this case that are so triable

 as of right.


                                                    LYDECKER DIAZ
                                                    Attorneys for Third-Party Defendants
                                                    Northeast Brokerage Inc. and Michael
                                                    Costello




                                           Page 6 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 7 of 8 PageID: 1083



                                            By:    /s/ Joseph Ross
                                                   Robert J. Pariser, Esq.
                                                   Joseph Ross, Esq.

 Dated: July 9, 2020



                                RULE 11.2 DECLARATION


 JOSEPH ROSS, of full age, declares as follows:


    1. I have been a member in good standing of the Bar of the State of New Jersey

         since 2014, and the bar of this Court since 2018.

    2. To the best of my knowledge, information and belief, the matter in

         controversy is not the subject of any other action pending in any Court, or of

         any pending arbitration or administrative proceeding.

 I declare under penalty of perjury that the foregoing is true and correct. Executed on July 9,

 2020.



                                                   /s/ Joseph Ross
                                                   JOSEPH ROSS




                                          Page 7 of 8
Case 3:18-cv-12350-MAS-ZNQ Document 63 Filed 07/09/20 Page 8 of 8 PageID: 1084



                                CERTIFICATE OF SERVICE

        I hereby certify that on July 9, 2020, I caused a true and correct copy of the Answer,

 Affirmative Defenses and Cross-Claims of Third-Party Defendants Northeast Brokerage

 Inc. and Michael Costello to the Third-Party Complaint by JJK 2016 Insurance Trust and

 Michael Lerner, as Trustee to the JJK 2016 Insurance Trust, to be served on all counsel of

 record via the Court’s electronic filing and notification system.


                                                    LYDECKER DIAZ
                                                    Attorneys for Third-Party Defendants
                                                    Northeast Brokerage Inc. and Michael
                                                    Costello

                                             By:    /s/ Joseph Ross
                                                    Robert J. Pariser, Esq.
                                                    Joseph Ross, Esq.

 Dated: July 9, 2020




                                           Page 8 of 8
